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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF GEORGI A
                               BRUNSWICK DIVISIO N


BILLY GUYTON, SR . ,

                      Petitioner,                         CIVIL ACTION NO . : CV205-233

              V.

UNITED STATES OF AMERICA ,                                (Case No . : CR297-026 )

                      Respondent .


                                         ORDER

       Let a copy of this Report and Recommendation be served upon the parties . Th e

parties will be allowed ten (10) days from the date of service of this Report and

Recommendation to file objections . If no objections are made, this Report and

Recommendation will be adopted as a record of the proceedings and may become the

opinion and order of the Court . Nettles v. Wainwright , 677 F .2d 404 (5th Cir . Unit B 1982).

       All requests for additional time to file any objections to this Report and

Recommendation should be filed with the Clerk for consideration by the District Judge to

whom this case is assigned for his determination .

       The Clerk of Court is directed to submit the Report and Recommendation with

objections, if any, on or before the     J    day of 12006.

       SO ORDERED , this I 7 4t ay of April, 2006 .




                                                   JAMES %TGRAHAM
                                                   UNITED ATES MAGISTRATE JUDGE
